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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,
                                                Case No. 4:10-CR-131-BLW
                     Plaintiff,
                                                ORDER
        v.

 ARNULFO ONTIVEROS-LOPEZ, aka
 Isaias Lopez,

                     Defendant.




      The Court has before it Defendant’s Motion to Withdraw as Counsel (Dkt. 134).

Good cause appearing, the Court will grant the motion.

                                       ORDER

      IT IS ORDERED:

      1.     Defendant’s Motion to Withdraw (Dkt. 134) is GRANTED. The Clerk of

             the Court shall immediately appoint new CJA counsel for Defendant

             Arnulfo Ontiveros-Lopez. Mr. Carter shall continue to represent Mr.

             Ontiveros-Lopez until new counsel is appointed.




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                                   DATED: December 7, 2010




                                   B. LYNN WINMILL
                                   Chief U.S. District Court Judge




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